Case 1:23-cv-00595-JPH-KMB           Document 64        Filed 06/13/23     Page 1 of 6 PageID #:
                                           4172



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

K.C., et al.,

                       Plaintiffs,

                v.                                             No. 1:23-cv-00595-JPH-KMB

THE INDIVIDUAL MEMBERS OF THE
MEDICAL LICENSING BOARD OF
INDIANA, in their official capacities, et al.,

                       Defendants.

         Plaintiffs’ Responses to Defendants’ Motions to Maintain Filings Under Seal

        Presently pending are two motions by the State to maintain certain filings under seal.

(Dkts. 50, 55). This Court has ordered an expedited briefing schedule as to those motions, in light

of the preliminary injunction hearing in this matter scheduled for June 14, 2023. (Dkt. 57).

Plaintiffs, by their counsel, hereby submit their responses.

I.      Evidentiary submissions at docket entry 48

        At docket entries 48-1 through 48-17, the State has filed evidentiary materials in support

of its response opposing plaintiffs’ motion for a preliminary injunction. As to docket entries 48-

1, 48-2, and 48-4 through 48-17, the plaintiffs authorize the unsealing of those documents, as no

good cause exists to maintain those documents under seal. See Local Rule 5-11(d)(3).

        A.      Docket entry 48-3 should be maintained under seal, but a public version may
                be filed with the proposed redactions

        Docket entry 48-3, a report proffered by Dr. Dianna Kenny, PhD, provides opinions as to

the diagnosis and treatment of gender dysphoria generally and as to the minor plaintiffs

specifically. Appended to the end of Dr. Kenny’s report is a selection of the minor plaintiffs’

medical records. (See Dkt. 48-3 at 160-319). The plaintiffs request that this document be

                                                 [1]
Case 1:23-cv-00595-JPH-KMB            Document 64         Filed 06/13/23     Page 2 of 6 PageID #:
                                            4173



maintained under seal, but also request that a redacted version of this report, attached to this

Response, be publicly filed.

       1.       The plaintiffs’ medical records should be maintained under seal

       The public’s right to view documents filed with the court is not unlimited, and Federal Rule

of Civil Procedure 26(c) “allows a court to shield certain documents from the public when there is

good cause to do so.” Bond v. Utreras, 585 F.3d 1061, 1074 (7th Cir. 2009) (citation omitted).

Good    cause    exists   where,    among     other    things,   “the   privacy   interests   of   the

litigants . . . predominate in the particular case.” Id. (citing Jessup v. Luther, 227 F.3d 993, 997-

98 (7th Cir. 2000)). Medical records are among the documents that are frequently subject to

protective orders and may be maintained by a court under seal. See, e.g., Doe v. Oberweis Dairy,

456 F.3d 704, 718 (7th Cir. 2006) (indicating that court may seal medical records and limit their

use at trial to the extent that the plaintiff’s privacy interest outweighs the probative value of the

information contained in the records); Chapman v. Raemisch, 2009 WL 425813 (E.D. Wis. Feb.

20, 2009) (granting plaintiff’s request to maintain medical records under seal). Here, the plaintiffs’

privacy interests are particularly pronounced, and good cause exists to maintain their medical

records under seal. The plaintiffs address below each of the factors identified in Local Rule 5-

11(e)(2).

       The selection of medical records appended to Dr. Kenny’s report have been designated as

“confidential” pursuant to the protective order entered by this Court. (Dkt. 39). These medical

records contain confidential information regarding the minor plaintiffs’ health, welfare, and

medical care, including details regarding the minor plaintiffs’ physical characteristics, the names

of the schools they attend, their grades, intimate specifics about the physical progress of their

pubertal development, and private details of conversations had with mental health practitioners,


                                                 [2]
Case 1:23-cv-00595-JPH-KMB            Document 64        Filed 06/13/23      Page 3 of 6 PageID #:
                                            4174



among a host of other sensitive information. They also include information relating to conditions

and diagnoses unrelated to gender dysphoria. Certainly many adults would seek to avoid this sort

of disclosure, and the Federal Rules of Civil Procedure are particularly solicitous of the privacy

interests of minors in federal court proceedings. See, e.g., Fed. R. Civ. P. 5.2(a)(3) (requiring that

a filing may include, as to a minor party, only initials). This information is sensitive and personal,

and it was provided for the purpose of seeking medical care that is itself unusually sensitive in

nature. Strong privacy interests favor maintaining its confidentiality.

       To the extent that information contained within these medical records is pertinent to the

legal issue before the Court, and much of it is not, the parties have entered into stipulations that

address many, if not all, of the relevant facts contained within the medical records. (Dkt. 51).

Therefore, to the extent that the Court finds the contents of the report relevant or material to

resolution of the pending matter, it is unlikely that the Court would find citation to specific

statements within the medical records to be necessary. The public’s interest in reviewing those

records is accordingly relatively minimal, compared to the privacy interests of the youth. For all

of these reasons, the report filed at docket entry 48-3 should be maintained under seal.

       2.      A redacted report protects the privacy interests of the plaintiffs while
               accommodating the public interest in an open court docket

       The plaintiffs do not object to the body of Dr. Kenny’s report being unsealed, provided that

the medical records, and two other small categories of information, are redacted. The plaintiffs

have therefore submitted a proposed redacted report contemporaneously with this filing. This

approach appropriately balances the plaintiffs’ privacy interests with the public’s interest in




                                                 [3]
Case 1:23-cv-00595-JPH-KMB            Document 64         Filed 06/13/23       Page 4 of 6 PageID #:
                                            4175



viewing the documents before the Court. This version redacts the medical records in their entirety,

and includes two additional minor redactions. 1

        First, Federal Rule of Civil Procedure 5.2(a)(2) requires that a filing that contains an

individual’s birth date be redacted to remove the month and date of the individual’s birth. The

redacted report attached by plaintiffs, therefore, redacts birth month and date, leaving visible only

the plaintiffs’ years of birth.

        Second, plaintiffs have redacted two sentences contained in Paragraph 213 of Dr. Kenny’s

report. (Dkt. 48-3 at 110). Those sentences contain extremely sensitive information that is taken

largely verbatim from the medical records. (Id.). In addition, the third sentence references

confidential, sensitive information regarding an individual who is not a party to this litigation.

(Id.). The substantive import of these sentences is captured by Paragraph 58 of the parties’ Joint

Stipulation of Facts. (Dkt. 51 at 9). Paragraph 213 of Dr. Kenny’s report is not cited by the State

in its brief, and this information is not material to resolution of this matter. This redaction provides

the narrowest and most targeted means to protect this confidential information.

II.     The State’s brief may be unsealed

        The plaintiffs authorize the unsealing of the State’s brief, contained at Docket Entry 54.

III.    The State’s position as to the motions to maintain under seal

        Stevie Pactor, one of plaintiffs’ counsel, conferred with Solicitor General Tom Fisher

regarding the State’s position as to the motions to maintain under seal and the plaintiffs’ response,

including the above-described proposed redactions. Mr. Fisher responded that the plaintiffs “can




1      An attempt to individually redact each piece of confidential information from the medical
records would result in a document, 160 pages long, that more resembles Swiss cheese than a
medical record.
                                                  [4]
Case 1:23-cv-00595-JPH-KMB            Document 64        Filed 06/13/23      Page 5 of 6 PageID #:
                                            4176



represent that [the State] take[s] no position and that [the State] will not be filing an objection or

any other response.”

IV.    Conclusion

       For the reasons articulated above, the plaintiffs request that the Court maintain docket entry

48-3, the report of Dianna Kenny, PhD, under seal. The plaintiffs request that the Court accept for

public filing the attached redacted report.

       The plaintiffs authorize the unsealing of all other entries at docket 48 as well as the State’s

brief at docket entry 54.

       The plaintiffs request all further appropriate relief.




                                                                Kenneth J. Falk
                                                                Gavin M. Rose
                                                                Stevie J. Pactor
                                                                ACLU of Indiana
                                                                1031 E. Washington St.
                                                                Indianapolis, IN 4602
                                                                317/635-4059
                                                                fax: 317/635-4105
                                                                kfalk@aclu-in.org
                                                                grose@aclu-in.org
                                                                spactor@aclu-in.org

                                                                Chase Strangio
                                                                Pro Hac Vice
                                                                Harper Seldin
                                                                Pro Hac Vice
                                                                American Civil Liberties Union
                                                                125 Broad Street
                                                                New York, NY 10004
                                                                212/549-2500
                                                                cstrangio@aclu.org
                                                                hseldin@aclu.org

                                                 [5]
Case 1:23-cv-00595-JPH-KMB   Document 64   Filed 06/13/23   Page 6 of 6 PageID #:
                                   4177




                                               Attorneys for Plaintiffs and the
                                               Putative Classes and Subclasses




                                     [6]
